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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                                    CASE NO.:

  DENISE PAYNE,

            Plaintiff,
  v.

  STIRLING PLACE, INC., THE
  JANOURA GROUP, INC,
  MUNOZ GROUP INC. and HONG
  BBQ ASIAN FOOD LLC,

        Defendants.
  _______________________________/
                                                  COMPLAINT

            Plaintiff, DENISE PAYNE, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter "Plaintiff"), sues Defendants, STIRLING PLACE, INC.,

  THE JANOURA GROUP, INC., MUNOZ GROUP INC. and HONG BBQ ASIAN FOOD LLC,

  and as grounds allege:

                                   JURISDICTION, PARTIES. AND VENUE

              1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

       litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the "Americans with

       Disabilities Act" or "ADA") and 28 U.S.C. §§ 2201 and 2202.

              2.         The Court has original jurisdiction over Plaintiff's claims arising under 42 U.S.C.

       § 12181, et seq. pursuant to 28 U.S.C. §§ 1331 and 1343.

              3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

       2202, and may render declaratory judgment on the existence or nonexistence of any right under

       42 U.S.C. § 12181, et seq.

              4.         Plaintiff, DENISE PAYNE, is an individual over eighteen years of age, residing


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      and domiciled in Florida, and is otherwise sui juris.

             5.      At all times material, Defendant, STIRLING PLACE, INC., was and is a Florida

      Corporation, with its principal place of business in Davie, Florida.

             6.      At all times material, Defendant, STIRLING PLACE, INC., owned and operated a

      commercial shopping center at 6851 Stirling Road Davie, Florida 33314 (hereinafter the

      "Commercial Property") and conducted a substantial amount of business in that place of public

      accommodation in Davie, Florida.

             7.      At all times material, Defendant, THE JANOURA GROUP, INC., was and is a

      Florida Corporation, with its principal place of business in Davie, Florida.

             8.      At all times material, Defendant, THE JANOURA GROUP, INC., owned and

      operated a commercial shopping center located at 6851 Stirling Road Davie, Florida 33314

      (hereinafter the " Commercial Property") and conducted a substantial amount of business in that

      place of public accommodation in Davie, Florida.

             9.      At all times material, Defendant, MUNOZ GROUP INC., was and is a Florida

      Corporation, with its principal place of business in Davie, Florida.

             10.     At all times material, Defendant, MUNOZ GROUP INC., owned and operated a

      commercial grocery store located at 6871 Stirling Rd Davie, Florida 333141 (hereinafter the "

      Commercial Property") and conducted a substantial amount of business in that place of public

      accommodation in Davie, Florida. Defendant, MUNOZ GROUP INC., holds itself out to the

      public as “Brothers Farmers Market of Davie.”

             11.     At all times material, Defendant, HONG BBQ ASIAN FOOD LLC, was and is a

      Florida Limited Liability Company, with its principal place of business in Davie, Florida.


  1
   This address is located within the retail shopping center and place of 6851 Stirling Road Davie, Florida 33314,
  owned and operated by landlord Defendants, STIRLING PLACE, INC. and THE JANOURA GROUP, INC.

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                3.    At all times material, Defendant, HONG BBQ ASIAN FOOD LLC, owned and

      operated a commercial restaurant located at 6831 Stirling Rd, Davie, FL 33314 2 (hereinafter

      the "Commercial Property") and conducted a substantial amount of business in that place of

      public accommodation in Davie, Florida. Defendant, HONG BBQ ASIAN FOOD LLC, holds

      itself out to the public as “Hong’s BBQ.”

                4.    Venue is properly located in the Southern District of Florida because Defendants’

      shopping center and the properties within which it is on are located in Broward County,

      Florida, and Defendants regularly conduct business within Broward, Florida, and because a

      substantial part of the events or omissions giving rise to this claim occurred in Broward,

      Florida.

                                          FACTUAL ALLEGATIONS

           5.         Although nearly thirty (30) years have passed since the effective date of Title III

      of the ADA, Defendants have yet to make its facilities accessible to individuals with disabilities.

           6.         Congress provided commercial businesses one and a half years to implement the

      Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

      extensive publicity the ADA has received since 1990, Defendants continue to discriminate

      against people who are disabled in ways that block them from access and use of Defendants’

      business(es).

           7.         The ADA prohibits discrimination on the basis of disability in 28 CFR

       36.201 and requires landlords and tenants to be liable for compliance.

            8.        Plaintiff, DENISE PAYNE, is an individual with disabilities as defined by and

  pursuant to the ADA. DENISE PAYNE uses a wheelchair to ambulate. DENISE PAYNE has very


  2
   This address is located within the retail shopping center and place of 6851 Stirling Road Davie, Florida 33314,
  owned and operated by landlord Defendants, STIRLING PLACE, INC. and THE JANOURA GROUP, INC.

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  limited use of her hands and cannot operate any mechanisms which require tight grasping or

  twisting of the wrist. She is limited in his major life activities by such, including but not limited to

  walking, standing, grabbing, grasping and/or pinching.

           9.      Defendants, STIRLING PLACE, INC., THE JANOURA GROUP, INC., own,

  operate and oversee the Commercial Property, its general parking lot and parking spots.

           10.     The subject Commercial property is open to the public and is located in Davie,

   Florida.

           11.     The individual Plaintiff visits the Commercial Property and businesses located

   within the Commercial Property, regularly, to include visits to the Commercial Property and

   businesses located within the Commercial Property on or about February 23, 2022, encountering

   multiple violations of the ADA that directly affected his ability to use and enjoy the Commercial

   Property and businesses located therein. She often visits the Commercial Property and

   businesses located within the Commercial Property in order to avail herself of the goods and

   services offered there, and because it is approximately ten (10) miles from her residence and is

   near other businesses and restaurants she frequents as a patron. She plans to return to the

   Commercial Property and the businesses located within the Commercial Property within two

   (2) months of the filing of this Complaint, specifically on or before May 23, 2022.

           12.     Plaintiff resides nearby in the same County and state as the Commercial Property

   and the businesses located within the Commercial Property, has regularly frequented the

   Defendants’ Commercial Property and the businesses located within the Commercial Property

   for the intended purposes because of the proximity to her residence and other businesses that he

   frequents as a patron, and intends to return to the Commercial Property and businesses located

   within the Commercial Property within two (2) months from the filing of this Complaint,



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   specifically on or before May 23, 2022.

          13.     The Plaintiff found the Commercial Property, and the businesses located within

   the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

   barriers at the Commercial Property, and businesses located within the Commercial Property and

   wishes to continue his patronage and use of each of the premises.

          14.     The Plaintiff has encountered architectural barriers that are in violation of the

   ADA at the subject Commercial Property, and businesses located within the Commercial

   Property. The barriers to access at the Commercial Property, and the businesses located within

   the Commercial Property have each denied or diminished Plaintiff’s ability to visit the

   Commercial Property, and businesses located within the Commercial Property, and have

   endangered his safety in violation of the ADA. The barriers to access, which are set forth below,

   have likewise posed a risk of injury(ies), embarrassment, and discomfort to Plaintiff, DENISE

   PAYNE, and others similarly situated.

          15.     Defendants, STIRLING PLACE, INC., THE JANOURA GROUP, INC.,

   MUNOZ GROUP INC. and HONG BBQ ASIAN FOOD LLC, own and/or operate a place of

   public accommodation as defined by the ADA and the regulations implementing the ADA, 28

   CFR 36.201 (a) and 36.104. Defendants, STIRLING PLACE, INC., THE JANOURA GROUP,

   INC., MUNOZ GROUP INC. and HONG BBQ ASIAN FOOD LLC, are responsible for

   complying with the obligations of the ADA. The place of public accommodation that Defendants,

   STIRLING PLACE, INC., THE JANOURA GROUP, INC., MUNOZ GROUP INC. and HONG

   BBQ ASIAN FOOD LLC, own and/or operate the Commercial Property Businesses located at

   6851 Stirling Rd, Davie, FL 33314.

          16.     Plaintiff, DENISE PAYNE, has a realistic, credible, existing and continuing



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   threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

   described Commercial Property and the businesses located within the Commercial Property,

   including but not necessarily limited to the allegations in Counts I through III of this Complaint.

   Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

   at the Commercial Property, and businesses located within the Commercial Property, in violation

   of the ADA. Plaintiff desires to visit the Commercial Property and businesses located therein,

   not only to avail herself of the goods and services available at the Commercial Property, and

   businesses located within the Commercial Property, but to assure herself that the Commercial

   Property and businesses located within the Commercial Property are in compliance with the

   ADA, so that she and others similarly situated will have full and equal enjoyment of the

   Commercial Property, and businesses located within the Commercial Property without fear of

   discrimination.

          17.        Defendants, STIRLING PLACE, INC. and THE JANOURA GROUP, INC., as

   landlords and owners of the Commercial Property Business, is responsible for all ADA violations

   listed in Counts I through III. Defendants, STIRLING PLACE, INC., THE JANOURA GROUP,

   INC., MUNOZ GROUP INC. and HONG BBQ ASIAN FOOD LLC, as tenants and owners and/

   operators of the businesses within the Commercial Property, are jointly and severally responsible

   and liable for all ADA violations listed in this Complaint.

          18.        Defendants have discriminated against the individual Plaintiff by denying him

   access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

   and/or accommodations of the Commercial Property, and businesses located within the

   Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.




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                      COUNT I – COMMON AREA ADA VIOLATIONS
                AS TO STIRLING PLACE, INC. and THE JANOURA GROUP, INC.

          19.       The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

   18 above as though fully set forth herein.

          20.       Defendants, STIRLING PLACE, INC. and THE JANOURA GROUP, INC., have

   discriminated, and continues to discriminate, against Plaintiff in violation of the ADA by failing,

   inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendant

   has 10 or fewer employees and gross receipts of $500,000 or less). A list of the violations that

   Plaintiff encountered during his visit to the Commercial Property, include but are not limited to,

   the following:

     A. Entrance Access and Path of Travel

      i. The plaintiff had difficulty traversing the path of travel, as it is not continuous and

         accessible. Violation: There are inaccessible routes from the public sidewalk and

         transportation stop. These are violations of the requirements in Sections 4.3.2(1), 4.3.8,

         4.5.1, and 4.5.2 of the ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010

         ADA Standards, whose resolution is readily achievable.

     ii. The plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.

         Violation: There are curb ramps at the facility that contain excessive slopes, violating

         Section 4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards,

         whose resolution is readily achievable.

     iii. The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

         Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and

         4.5.2 of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is

         readily achievable.


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     iv. The plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess

         of 2%. Violation: The path of travel contains excessive cross slopes in violation of Section

         4.3.7 of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is

         readily achievable.

     v. The plaintiff had difficulty traversing the path of travel, as it was not continuous and

         accessible. Violation: There are inaccessible routes between sections of the facility. These

         are violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and

         Sections 206.2.2, 303, 402 and 403, whose resolution is readily achievable.

     vi. The plaintiff had difficulty using ramps, as they are located on an excessive slope.

         Violation: Ramps at the facility contain excessive slopes, violating Section 4.8.2 of the

         ADAAG and Section 405.2 of the 2010 ADA Standards, whose resolution is readily

         achievable.

                               COUNT II – ADA VIOLATIONS
                        AS TO STIRLING PLACE, INC., THE JANOURA
                            GROUP, INC. and MUNOZ GROUP INC.

         21.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  18 above as though fully set forth herein.

         22.     Defendants, STIRLING PLACE, INC., THE JANOURA GROUP, INC. and

  MUNOZ GROUP INC., have discriminated, and continues to discriminate, against Plaintiff in

  violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

  January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts of $500,000 or less).

  A list of the violations that Plaintiff encountered during his visit to the Commercial Property,

  include but are not limited to, the following:



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     A. Access to Goods and Services

     i. There is seating provided at the facility that does not comply with the standards prescribed

        in Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

        resolution is readily achievable.

     B. Public Restrooms

     i. There are permanently designated interior spaces without proper signage, violating Section

        4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

        whose resolution is readily achievable.

     ii. The plaintiff could not enter the restroom without assistance, as the required maneuvering

        clearance is not provided on the push side. Violation: The restroom door does not provide

        the required latch side clearance violating Section 4.13.6 of the ADAAG and Section

        404.2.4 of the 2010 ADA Standards, whose resolution is readily achievable.

    iii. The plaintiff had difficulty entering the restroom without assistance, as the door threshold

        is too high. Violation: There are threshold rises in excess of ½ inch at the restroom

        entrances, violating Section 4.13.8 of the ADAAG and Section 404.2.5 of the 2010 ADA

        Standards, whose resolution is readily achievable.

    iv. The plaintiff had difficulty using the doorknob and the locking mechanism on the restroom

        door without assistance, as they require tight grasping. Violation: The restroom door has

        non-compliant hardware for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the

        ADAAG and Sections 309.4 & 404.2.7 of the 2010 ADA Standards, whose resolution is

        readily achievable.

     v. The plaintiff could not use the lavatory outside the accessible toilet compartment without

        assistance, the pipes are not fully wrapped, and objects are located underneath it. Violation:



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         There are lavatories outside accessible toilet compartments with pipes that are not properly

         insulated and not properly maintained free of obstructions, violating the requirements in

         Sections 4.19.2, 4.19.4 of the ADAAG, 28 CFR 36.211, and Sections 213.3.4. 606.2, &

         606.5 of the 2010 ADA Standards, whose resolution is readily achievable.

     vi. The plaintiff could not exit the restroom without assistance, as the required maneuvering

         clearance is not provided. Violation: The restroom door does not provide the required latch

         side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of the 2010

         ADA Standards, whose resolution is readily achievable.

    vii. The plaintiff could not use the soap bottle without assistance, as it requires a tight grasp to

         operate. Violation: The soap dispensers require a tight grasp to operate in violation of

         Section 4.27.4 of the ADAAG and Section 309.4 of the 2010 ADA Standards, whose

         resolution is readily achievable.

    viii. The plaintiff could not use the accessible toilet compartment door without assistance, as it

         is not self-closing and does not have compliant door hardware. Violation: The accessible

         toilet compartment door does not provide hardware and features that comply with Sections

         4.17.5 and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA

         Standards, whose resolution is readily achievable.

     ix. The plaintiff could not use the coat hook without assistance, as it is mounted too high.

         Violation: There are coat hooks provided for public use in the restroom, outside the reach

         ranges prescribed in Sections 4.2.5, 4.2.6, and 4.25.3 of the ADAAG and Sections 308 and

         604.8.3 of the 2010 ADA Standards, whose resolution is readily achievable.




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      x. The plaintiff could not use the lavatory without assistance, as objects are located

         underneath it. Violation: There are lavatories in public restrooms without the required

         knee/toe clearances provided, violating the requirements in Section 4.19.2 of the ADAAG,

         28 CFR 36.211, and Sections 306 & 606.2 of the 2010 ADA Standards, whose resolution

         is readily achievable.

     xi. The plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

         wrapped. Violation: The lavatory pipes are not fully wrapped or insulated violating Section

         4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

         readily achievable.

    xii. The plaintiff could not exit the accessible toilet compartment without assistance, as the

         required maneuvering clearance is not provided. Violation: The accessible toilet

         compartment does not provide the required latch side clearance at the door violating

         Sections 4.13.6 and 4.17.5 of the ADAAG and Sections 404.2.4 and 604.8.1.2 of the 2010

         ADA Standards, whose resolution is readily achievable.

    xiii. The plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

         provided in the restrooms are in violation of the requirements in Section 4.19.6 of the

         ADAAG and Section 603.3 of the 2010 ADA Standards, whose resolution is readily

         achievable.

    xiv. The plaintiff could not transfer to the toilet without assistance, as a trashcan obstructs the

         clear floor space. Violation: The required clear floor space is not provided next to the toilet,

         violating Section 4.16.2 & Figure 28 of the ADAAG, 28 CFR 36.211, and 604.3 of the

         2010 ADA Standards, whose resolution is readily achievable.




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     xv. The plaintiff could not transfer to the toilet without assistance, as objects are mounted less

          than 12” above a grab bar obstructing its use. Violation: The grab bars in the accessible

          toilet compartment do not comply with the requirements prescribed in Sections 4.17.6 and

          4.26 of the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is

          readily achievable.

    xvi. The plaintiff could not flush the toilet without assistance, as the flush valve is not mounted

          on the wide area. Violation: The flush valve is not mounted on the compliant side in

          violation of Section 4.16.5 of the ADAAG and Section 604.6 of the 2010 ADA Standards,

          whose resolution is readily achievable.

    xvii. The plaintiff could not transfer to the toilet without assistance, as the side grab bar is not at

          the required location. Violation: The grab bars in the accessible toilet compartment do not

          comply with the requirements prescribed in Section 4.17.6 of the ADAAG and Section

          604.5.1 of the 2010 ADA Standards, whose resolution is readily achievable.

                               COUNT III – ADA VIOLATIONS
                        AS TO STIRLING PLACE, INC., THE JANOURA
                        GROUP, INC., and HONG BBQ ASIAN FOOD LLC

          23.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

   18 above as though fully set forth herein.

          24.     Defendants, STIRLING PLACE, INC., THE JANOURA GROUP, INC., and

   HONG BBQ ASIAN FOOD LLC, have discriminated, and continues to discriminate, against

   Plaintiff in violation of the ADA by failing, inter alia, to have accessible facilities by January 26,

   1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts of $500,000

   or less). A list of the violations that Plaintiff encountered during his visit to the Commercial

   Property, include but are not limited to, the following:



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     A. Access to Goods and Services

      i. There is seating provided at the facility that does not comply with the standards prescribed

         in Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

         resolution is readily achievable.

     B. Public Restrooms

      i. There are permanently designated interior spaces without proper signage, violating Section

         4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

         whose resolution is readily achievable.

     ii. The plaintiff had difficulty entering the restroom without assistance, as the door threshold

         is too high. Violation: There are threshold rises in excess of ½ inch at the restroom

         entrances, violating Section 4.13.8 of the ADAAG and Section 404.2.5 of the 2010 ADA

         Standards, whose resolution is readily achievable.

     iii. The plaintiff had difficulty using the locking mechanism on the restroom door without

         assistance, as it requires tight grasping. Violation: The restroom door has non-compliant

         hardware for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the ADAAG and

         Sections 309.4 & 404.2.7 of the 2010 ADA Standards, whose resolution is readily

         achievable.

     iv. The plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

         wrapped. Violation: The lavatory pipes are not fully wrapped or insulated violating Section

         4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

         readily achievable.

     v. The plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

         provided in the restrooms are in violation of the requirements in Section 4.19.6 of the



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          ADAAG and Section 603.3 of the 2010 ADA Standards, whose resolution is readily

          achievable.

      vi. The plaintiff could not use the soap bottle without assistance, as it requires a tight grasp to

          operate. Violation: The soap dispensers require a tight grasp to operate in violation of

          Section 4.27.4 of the ADAAG and Section 309.4 of the 2010 ADA Standards, whose

          resolution is readily achievable.

     vii. The plaintiff could not transfer to the toilet without assistance, as objects are mounted less

          than 12” above a grab bar obstructing its use. Violation: The grab bars do not comply with

          the requirements prescribed in Sections 4.16.4 & 4.26 of the ADAAG and Section 609.3

          of the 2010 ADA Standards, whose resolution is readily achievable.

                                 RELIEF SOUGHT AND THE BASIS

          25.     The discriminatory violations described in Counts I through III of this Complaint

   are not an exclusive list of the Defendants’ ADA violations. Plaintiff requests an inspection of the

   Defendants’ places of public accommodation in order to photograph and measure all of the

   discriminatory acts violating the ADA and barriers to access in conjunction with Rule 34 and

   timely notice. Plaintiff further requests to inspect any and all barriers to access that were concealed

   by virtue of the barriers' presence, which prevented Plaintiff, DENISE PAYNE, from further

   ingress, use, and equal enjoyment of the Commercial Business and businesses located within the

   Commercial Property; Plaintiff requests to be physically present at such inspection in conjunction

   with Rule 34 and timely notice. A complete list of the Subject Premises’ ADA violations, and the

   remedial measures necessary to remove same, will require an on-site inspection by Plaintiff’s

   representatives pursuant to Federal Rule of Civil Procedure 34.

          26.     The individual Plaintiff, and all other individuals similarly situated, have been



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   denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

   privileges, benefits, programs and activities offered by Defendants, Defendants’ building(s),

   businesses and facilities; and has otherwise been discriminated against and damaged by the

   Defendants because of the Defendants’ ADA violations as set forth above. The individual Plaintiff,

   and all others similarly situated, will continue to suffer such discrimination, injury and damage

   without the immediate relief provided by the ADA as requested herein. In order to remedy this

   discriminatory situation, the Plaintiff requires an inspection of the Defendants’ place of public

   accommodation in order to determine all of the areas of non-compliance with the Americans with

   Disabilities Act.

          27.      Defendants have discriminated against the individual Plaintiff by denying her

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of its place of public accommodation or commercial facility, in violation of 42

   U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendants continue to

   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to afford

   all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

   disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

   with a disability is excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services.

          28.      Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

   clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

   those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

   to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §



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   12205 and 28 CFR 36.505.

          29.     Defendants are required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public

   accommodation, the Plaintiff and all others similarly situated, will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested

   herein. In order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

   Defendants’ place of public accommodation in order to determine all of the areas of non-

   compliance with the Americans with Disabilities Act.

          30.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

   and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

   or waived by the Defendants.

          31.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate their

   businesses, located at and/or within the commercial property located at 6851 Stirling Rd, Davie,

   FL 33314, the exterior areas, and the common exterior areas of the Commercial Property and

   businesses located within the Commercial Property, to make those facilities readily accessible and

   useable to the Plaintiff and all other mobility-impaired persons; or by closing the facility until such

   time as the Defendants cure the violations of the ADA.

                  WHEREFORE, the Plaintiff, DENISE PAYNE, respectfully requests that this

   Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

   of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

   42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all



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   readily achievable alterations to the facilities; or to make such facilities readily accessible to and

   usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

   to make reasonable modifications in policies, practices or procedures, when such modifications

   are necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.

   Dated: April 4, 2022.


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